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        Exhibit G
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                                                                     INVOICE

Jianfeng LI                               DATE: Mar 31st, 2019
Room 603, Building No. 4                  INVOICE #: 190331
Sanlitun Nanlu,                           For: Translation and Advisory Fee
Chaoyang District,                        BILL TO: The Seiden Group
Beijing 100027, P.R. China                ATTENTION: Mr. Robert W. Seiden, Esq.
Phone: (86)13701279640                    in his capacity as the Court-Appointed
Email: Jianfengli2008@126.com             Receiver for Link Motion Inc.



                                                             AMOUNT
                                                             USD 36,460.00




THANK YOU FOR YOUR BUSINESS!                     TOTAL       USD$ 36,460.00




Attachment: Record of Time Spent on LKM
                                   Case 1:18-cv-11642-VM-VF Document 376-7 Filed 11/18/22 Page 3 of 20



                                         Frank's Translation and Advisory Service for Link Motion Inc.


                       Time
Date        Beijing                                                               Subject
                       (Minutes)
              Time
 3-Feb   23:45-24:00        15
 4-Feb   09:00-12:00       180
 5-Feb   09:30-11:20       110
         11:40-12:40        60
 7-Feb   10:00-11:00        60
 8-Feb   09:50-10:05        15
 9-Feb   08:40-11:15       155
11-Feb   08:30-08:50        20
         11:55-12:40        45
12-Feb   09:00-09:30        30
24-Feb   15:50-16:20        30
26-Feb   08:02-08:24        22
27-Feb   18:05-19:10        65
28-Feb   09:18-09:30        12
         14:00-16:00       120
 1-Mar   14:20-14:40        20
         23:42-23:50         8
 4-Mar   16:30-20:30       240
 5-Mar   18:18-18:48        30
 6-Mar   09:01-09:31        30
         10:33-11:38        65
 7-Mar   09:00-09:30        30
 8-Mar   07:53-08:31        38
         08:35-08:55        20
         08:55-09:10        15
         23:35-01:00        85
 9-Mar   15:40-17:10        90
         18:00-19:00        60
         20:00-23:00       180
10-Mar   15:00-17:00       120
         22:00-24:00       120
11-Mar   10:30-11:25        55
         16:43-17:57        74
         19:00-19:25        25


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         21:52-22:24     32
         22:40-23:00     20
12-Mar   17:00-17:30     30
         21:32-23:00     88
         23:30-23:50     20
13-Mar   00:32-01:28     56
         01:30-02:00     30
         16:00-17:20     80
         21:30-23:00     90
14-Mar   00:20-00:40     20
         08:00-08:15     15
         16:00-18:00    120
         19:00-23:00    240
15-Mar   23:15-23:30     15
         23:30-24:00     30
16-Mar   17:00-18:30     90
         20:00-23:00    180
17-Mar   14:00-16:25    145
         21:30-21:50     20
18-Mar   08:28-09:08     40
         14:00-16:00    120
         16:08-16:25     17
         18:00-18:16     16
         22:23-23:53     90
19-Mar   00:58-01:12     14
         12:00-12:20     20
         14:38-14:56     18
         15:46-16:44     58
         20:23-20:42     19
20-Mar   10:44-11:04     20
         14:00-16:00    120
         17:00-18:00     60
21-Mar   16:00-16:50     50
         20:39:-21:09    30
         23:00-23:50     50
22-Mar   09:00-10:05     65
         15:00-15:30     30
24-Mar   17:39-18:59     80
         19:30-20:00     30
         20:30-22:30    120



                                                             2
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       22:30-23:00             30
25-Mar 17:00-18:06             66
       21:43-22:55             72
26-Mar 18:00-19:00             60
       22:32-23:50             78
27-Mar 11:00-11:22             22
       21:00-22:20             80
28-Mar 11:18-12:15             57
       14:35-15:15             40
       21:03-22:07             64
       22:08-23:20             72
       23:20-00:55             95
29-Mar 11:40-12:37             56
30-Mar 14:00-14:45             45
      Subtotal in Minutes    5469
      Subtotal in Hours     91.15




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                                                                             INVOICE

Jianfeng LI                                       DATE: April 30th, 2019
Room 603, Building No. 4                          INVOICE #: 190430
Sanlitun Nanlu,                                   For: Translation and Advisory Fee
Chaoyang District,                                BILL TO: The Seiden Group
Beijing 100027, P.R. China                        ATTENTION: Mr. Robert W. Seiden, Esq.
Phone: (86)13701279640                            in his capacity as the Court-Appointed
Email: Jianfengli2008@126.com                     Receiver for Link Motion Inc.



                                                                     AMOUNT
                                                                     USD 36,288.00




THANK YOU FOR YOUR BUSINESS!                             TOTAL       USD$ 36,288.00




Attachment: Record of Time Spent on LKM from April 1st-30th, 2019
                                   Case 1:18-cv-11642-VM-VF Document 376-7 Filed 11/18/22 Page 7 of 20



                                           Frank's Translation and Advisory Service for Link Motion Inc.


                       Time
Date        Beijing
                       (Minutes)
              Time
 1-Apr   19:00-20:30        90
         21:00-21:50        50
 2-Apr   13:05-13:35        30
         16:30-16:45        15
         18:30-19:30        60
         21:01-23:50       169
 3-Apr   23:52-00:33        41
         15:00-15:30        30
         20:00-20:30        30
         21:00-21:20        20
 4-Apr   00:45-00:55        10
         01:11-02:18        67
         10:03-10:57        54
         14:00-14:30        30
 6-Apr   21:00-21:30        30
         21:30-21:50        20
         22:15-23:11        56
 7-Apr   21:25-21:55        30
 8-Apr   18:00-18:30        30
 9-Apr   12:01-12:37        36
         13:50-14:20        30
         16:00-16:40        40
         19:45-20:30        45
         21:47-21:55         8
10-Apr   00:58-02:00        62
         10:00-12:00       120
         17:30-18:00        30
         18:00-18:30        30
11-Apr   15:25-17:00        95
         21:17-21:32        15
         23:30-00:35        65
12-Apr   10:27-11:30        63
         15:10-16:00        50
14-Apr   15:00-18:00       180
15-Apr   16:00-17:00        60
         19:00-21:00       120
16-Apr   9:30-11:30        120



                                                                         1
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       13:30-16:30   180
17-Apr 9:00-9:15      15
       11:00-11:30    30
       13:40-17:00   200
       21:15-22:15    60
       22:50-23:20    30
18-Apr 10:20-11:50    90
       13:00-14:00    60
       15:05-18:00   175
       19:15-21:30   135
       23:40-00:22    42
19-Apr 00:30-00:50    20
       13:00-15:00   120
       16:00-16:20    20
       17:05-17:20    15
       17:40-18:03    23
       22:00-22:50    50
       23:10-23:52    42
20-Apr 01:10-02:12    62
       15:00-16:30    90
21-Apr 14:50-15:14    24
       15:30-16:07    37
       18:00-20:00   120
       23:00-00:43   103
22-Apr 01:00-01:16    16
       15:05-16:13    68
       16:45-18:30   105
       19:30-21:32   122
23-Apr 01:00-01:30    30
       12:15-12:55    40
       14:00-14:55    55
       15:18-17:10   112
       17:00-17:50    50
       23:50-00:10    20
24-Apr 11:00-11:30    30
       12:00-12:30    30
       14:00-14:30    30
       15:30-16:05    35
       16:05-16:30    25
25-Apr 14:01-14:26    25
       23:35-00:30    55
26-Apr 10:00-10:22    22
       16:36-16:59    23
       22:50-23:10    20


                                                          2
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27-Apr 19:30-20:00             30
       21:04-21:37             33
28-Apr 11:40-13:10             90
       18:02-19:20             78
29-Apr 11:30-12:20             50
       14:30-15:00             30
       15:55-16:15             20
       19:50-20:20             30
       21:30-23:00             90
30-Apr 01:00-01:19             19
       01:53-02:20             27
       02:21-03:20             59
       11:30-2:00             150
       15:40-16:30             50
      Subtotal in Minutes    5443
      Subtotal in Hours     90.72




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                                                                         INVOICE

Jianfeng LI                                      DATE: May 31st, 2019
Room 603, Building No. 4                         INVOICE #: 190531
Sanlitun Nanlu,                                  For: Translation and Advisory Fee
Chaoyang District,                               BILL TO: The Seiden Group
Beijing 100027, P.R. China                       ATTENTION: Mr. Robert W. Seiden, Esq.
Phone: (86)13701279640                           in his capacity as the Court-Appointed
Email: Jianfengli2008@126.com                    Receiver for Link Motion Inc.



                                                                  AMOUNT
                                                                  USD 13,360.00




THANK YOU FOR YOUR BUSINESS!                            TOTAL     USD$ 13,360.00




Attachment: Record of Time Spent on LKM from May 1st-31st, 2019
                                   Case 1:18-cv-11642-VM-VF Document 376-7 Filed 11/18/22 Page 11 of 20



                                            Frank's Translation and Advisory Service for Link Motion Inc.

                       Time
Date         Beijing
              Time     (Minutes)

 1-May   14:07-14:36         29
 2-May   17:23-18:03         40
         18:52-19:14         22
 3-May   12:05-12:20         15
 4-May   00:45-01:25         40
         16:45-17:14         29
         17:15-17:50         35
 5-May   00:33-01:20         47
         01:40-02:00         20
         09:03-09:13         10
         11:30-12:40         70
         16:50-17:30         40
 6-May   08:25-08:35         10
         09:13-10:00         47
         13:05-14:00         55
         20:30-21:30         60
 7-May   10:40-10:55         15
         12:00-12:10         10
         13:45-14:15         30
         14:15-14:30         15
         15:30-16:35         65
 8-May   11:48-12:10         22
         18:00-18:40         40
         19:16-19:52         36
 9-May   00:04-00:15         11
         00:28-00:42         14
         00:58-01:08         10
         01:08-02:03         55
         09:16-09:45         29
         10:45-11:00         15
         20:40-21:25         45
10-May   02:37-02:55         18
         03:30-03:38          8
         10:01-10:27         26
         11:00-11:17         17
         21:05-21:45         40
11-May   12:30-13:00         30



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         21:30-22:10              40
         23:00-23:50              50
12-May   17:11-17:58              47
         17:50-18:10              20
13-May   07:23-07:48              25
         09:12-10:14              62
         21:30-21:38               8
         21:38-21:57              19
         23:45-24:00              15
14-May   16:50-17:54              64
15-May   10:20-10:30              10
16-May   15:35-16:05              30
         21:10-22:05              55
17-May   22:12-22:32              20
18-May   12:15-13:10              55
19-May   12:03-12:40              37
20-May   00:02-00:36              34
23-May   15:25-15:45              20
         17:33-17:53              20
         21:25-21:40              15
         22:11-22:26              15
         22:30-23:20              50
25-May   14:25-14:34               9
         14:56-15:15              19
26-May   23:00-23:20              20
27-May   09:44-10:36              52
30-May   12:07-12:30              23
31-May   10:10-10:30              20
         22:30-23:00              30
         Subtotal in Minutes    2004
         Subtotal in Hours     33.40




                                                                      2
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                                                                            INVOICE

Jianfeng LI                                       DATE: July 31st, 2019
Room 603, Building No. 4                          INVOICE #: 190731
Sanlitun Nanlu,                                   For: Translation and Advisory Fee
Chaoyang District,                                BILL TO: The Seiden Group
Beijing 100027, P.R. China                        ATTENTION: Mr. Robert W. Seiden, Esq.
Phone: (86)13701279640                            in his capacity as the Court-Appointed
Email: Jianfengli2008@126.com                     Receiver for Link Motion Inc.



                                                                     AMOUNT
                                                                     USD 12,520.00




THANK YOU FOR YOUR BUSINESS!                             TOTAL       USD$ 12,520.00




Attachment: Record of Time Spent on LKM from June 1st- July 31st, 2019
                                           Case 1:18-cv-11642-VM-VF Document 376-7 Filed 11/18/22 Page 14 of 20


                                                   Frank's Translation and Advisory Service for Link Motion Inc.
                               Time
Date         Beijing
                               (Minutes)
               Time
 1-Jun   17:30-17:45              15
         18:05-18:18              13
 3-Jun   17:31-17:44              13
         19:50-20:10              20
 4-Jun   16:45-17:00              15
10-Jun   15:01-15:12              11
14-Jun   01:02-01:10               8
         10:20-10:30              10
         23:06-23:32              26
15-Jun   09:30-09:40              10
         10:58-11:55              57
         12:12-12:27              15
16-Jun   17:36-18:30              54
17-Jun   22:00-22:51              51
19-Jun   23:33-23:43              10
20-Jun   00:12-00:36              24
         09:27-09:38              11
         10:02-10:12              10
21-Jun   06:08-06:18              10
         09:57-10:18              21
         22:46-23:06              20
24-Jun   20:00-20:30              30
25-Jun   01:30-02:13              43
         21:15-21:33              18
         22:00-22:20              20
         23:40-23:55              15
26-Jun   18:02-18:23              21
28-Jun   15:50-16:40              50
         22:40-23:08              28
         23:25-23:50              25
30-Jun   03:20-04:03              43
         Subtotal in Minutes     717
         Subtotal in Hours     11.95
                                   Case 1:18-cv-11642-VM-VF Document 376-7 Filed 11/18/22 Page 15 of 20


                                            Frank's Translation and Advisory Service for Link Motion Inc.
                       Time
Date        Beijing
                       (Minutes)
              Time
 1-Jul   10:32-11:24        52
         21:50-22:20        30
 2-Jul   01:20-01:35        15
         17:10-17:40        30
         21:40-22:00        20
 4-Jul   10:17-10:30        13
         23:33-23:50        17
 5-Jul   01:00-01:30        30
 6-Jul   21:30-22:00        30
 7-Jul   20:35-20:50        15
         15:05-15:27        22
         22:47-23:16        29
 9-Jul   22:13-22:40        27
         23:15-23:46        31
10-Jul   00:10-00:17         7
11-Jul   18:57-19:50        53
12-Jul   09:51-10:38        47
         11:37-11:52        15
13-Jul   01:00-01:30        30
         03:30-04:00        30
15-Jul   20:48-21:21        33
16-Jul   20:30-21:00        30
         23:09-23:35        26
17-Jul   14:20-14:28         8
         21:30-22:00        30
         23:05-23:58        53
18-Jul   23:20-23:30        10
19-Jul   23:24-00:33        69
22-Jul   11:10-11:20        10
         16:11-15:16         5
         15:23-15:58        35
         16:16-16:40        24
         18:08-18:13         5
         22:50-23:30        40
24-Jul   11:22-11:33        11
         21:45-22:23        38
26-Jul   12:15-12:21         6
27-Jul   14:23-14:38        15
         16:15-16:58        43
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       17:01-17:26             25
29-Jul 10:15-10:26             11
       16:07-16:31             24
30-Jul 10:38-11:08             30
31-Jul 11:44-12:14             30
       15:40-15:49              9
      Subtotal in Minutes    1163
      Subtotal in Hours     19.38
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                                                                                 INVOICE

Jianfeng LI                                      DATE: Dec 10th, 2019
Room 603, Building No. 4                         INVOICE #: 1901210
Sanlitun Nanlu,                                  For: Translation and Advisory Fee
Chaoyang District,                               BILL TO: The Seiden Group
Beijing 100027, P.R. China                       ATTENTION: Mr. Robert W. Seiden, Esq.
Phone: (86)13701279640                           in his capacity as the Court-Appointed
Email: Jianfengli2008@126.com                    Receiver for Link Motion Inc.



                                                                    AMOUNT
                                                                    USD 3,772.00




THANK YOU FOR YOUR BUSINESS!                            TOTAL       USD$ 3,772.00




Attachment: Record of Time Entries on LKM from August 1st- November 30th, 2019
                               Case 1:18-cv-11642-VM-VF Document 376-7 Filed 11/18/22 Page 18 of 20



                                  Frank's Translation and Advisory Service Time Entries(August-November 2019)


Date        Time     Minutes                                                       Subject
 2-Aug 10:53-11:00        7
       13:30-14:30       60
 3-Aug 11:05-11:13        8
       12:09-12:14        5
       14:45-14:58       13
       15:30-15:44       14
 6-Aug 14:38-15:00       22
10-Aug 13:44-14:07       23
19-Aug 9:43-10:13        30
       11:00-11:20       20
       11:20-11:30       10
       12:30-13:13       43
       15:17-15:28       11
       15:45-16:10       25
       19:47-20:00       13
23-Aug 01:10-01:48       38
       11:30-11:40       10
       11:55-12:10       15
       17:55-18:10       15
       22:03-22:45       42
24-Aug 09:23-09:41       18
25-Aug 22:50-23:52       58
27-Aug 22:05-23:05       60
28-Aug 01:20-01:43       23
29-Aug 15:40-15:50       10
       17:20-8:20        60
30-Aug 15:50-16:18       28
       17:35-18:00       25
       22:16-23:40       84
 1-Sep 21:00-22:44      104
 2-Sep 02:30-02:48       18
       11:50-12:12       22
       23:14-23:24       10
 3-Sep 07:20-07:38       18
       21:11-21:24       13
 6-Sep 23:36-23:51       15
 7-Sep 01:37-02:20       43
 9-Sep 23:12-23:27       15
12-Sep 23:17-23:30       13
       12:58-00:22       24
                                       Case 1:18-cv-11642-VM-VF Document 376-7 Filed 11/18/22 Page 19 of 20


   13-Sep 10:58-10:30             32
          22:58-23:20             22
   14-Sep 19:45-20:30             45
   16-Sep 10:13-10:20              7
   17-Sep 22:00-23:12             72
   18-Sep 17:35-17:51             16
          19:00-21:12            132
   20-Sep 09:23-09:58             35
   21-Sep 21:32-22:18             46
   26-Sep 15:30-15:42             12
          9:50-10:30              40
    6-Oct 14:20-14:45             25
          17:14-18:02             48
    9-Oct 0:40-01:38              58
   11-Oct 15:33-15:45             12
          16:45-17:15             30
          22:05-23:08             63
   12-Oct 05:02-05:28             26
          12:28-12:45             17
   13-Oct 20:37-21:00             23
          21:05-22:58            113
   14-Oct 01:05-01:35             30
   16-Oct 14:32-14:42             10
          19:10-19:27             17
   23-Oct 18:55-19:20             25
   25-Oct 11:10-00:40             90
    4-Nov 16:30-17:00             30
          17:00-17:20             20
          22:00-22:10             10
   12-Nov 00:20-00:34             14
          10:15-10:45             30
   19-Nov 10:50-10:58              8
   21-Nov 11:00-11:05              5
   25-Nov 18:55-19:10             15
Subtotal(Minutes)               2263
Subtotal(Hours)                37.72
Total Amount(USD)              15087
To be paid by Receiver (USD)    3772
Case 1:18-cv-11642-VM-VF Document 376-7 Filed 11/18/22 Page 20 of 20
